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                                              United States Bankruptcy Court
                                                       District of Connecticut
 In re   Ho Wan Kwok                                                                           Case No.     22-50073
                                                                   Debtor(s)                   Chapter      11




                                  VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



Date: February 15, 2022                                /s/ Ho Wan Kwok
                                                       Ho Wan Kwok
                                                        Signature of Debtor
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